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Christine H. Chung PLLC



April 2, 2021

VIA ECF

Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York
500 Pearl Street, Room 1050
New York, New York 10007

                          Re:      United States v. Victor Mones Coro
                                   S4 19 Cr. 144 (AKH)

Dear Judge Hellerstein:

       We write on behalf of defendant Victor Mones Coro to join the application of Inner City
Press with respect to sealed and redacted documents.

        As is apparent from the public record in this case, and was referenced in open court at Mr.
Mones’ sentencing, a number of briefs in this action filed by Mr. Mones and the government have
been filed only in redacted form.1 There has never been an application to seal or any order stating
reasons for the sealing or redactions. We have stated elsewhere the reasons we believe the sealing
and redactions are no longer “essential to preserve higher values” or “narrowly tailored.” United
States v. Aref, 533 F.3d 72, 82 (2d Cir. 2008) (quoting Press-Enter. Co. v. Super. Ct., 478 U.S. 1,
13-14 (1986)).

        To the extent that the Court permits continued sealing and/or redaction, we respectfully
request that it publicly state its reasons and that the docket reflect all sealed submissions and
hearings. See In re The Herald Co., 734 F.2d 93, 100 (2d Cir. 1984) (court’s articulation of reasons
should be publicly stated absent separate findings of need to maintain confidentiality of reasons);
United States v. Yousef, 327 F.3d 56, 167 (2d Cir. 2003) (requiring public docketing of occurrence
of sealed proceedings). We also request that the Court retain a record of the submission and
content of sealed or redacted material sufficient to enable appellate review.




1
 We refer to briefs (and related exhibits) regarding bail (ECF Nos. 71, 72), discovery sanctions (ECF Nos. 122, 137
143, 147) and sentencing (ECF Nos. 179, 185, 187).
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The Honorable Alvin K. Hellerstein                                  April 2, 2021


Respectfully submitted,




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cc:    All counsel (via ECF)




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